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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Robert Flock was on duty and performing my official
duties as a Special Agent with the United States Capitol Police. Specifically, I am assigned to the
Threat Assessment Section, tasked with investigating criminal activity in and around the Capitol
grounds. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate Chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to and did evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 8, 2021 at approximately 3:30 p.m., John LOLOS was aboard a Delta airline
flight on the tarmac of Ronald Reagan Washington National Airport. LOLOS was a passenger and
was disturbing other passengers on the airplane by
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continuing disturbance, the flight crew decided to turn the airplane around and go back to the gate
in order to escort LOLOS off of the flight. Metropolitan Washington Airports Authority Police
Department (MWAA) Officer Braddock                                      activity and witnessed him
return to the gate from the airplane, but did not detain or arrest LOLOS when he returned to the
gate. Delta booked LOLOS a later flight to his destination, and LOLOS continued to wait at the
gate.

       Approximately 45 minutes later, Officer Braddock was scrolling his personal Instagram
feed and watched a video depicting several individuals exiting a doorway from the East front of
the U.S. Capitol Building during the aforementioned events of January 6, 2021. During the video
LOLOS can be seen exiting the U.S. Capitol doorway, wearing the same shirt he was wearing the


                                                deo and confirmed that LOLOS was the same
individual who was currently sitting at the gate, Officer Braddock alerted United States Capitol
Police Dignitary Protection Division (DPD) Agents who were at the airport for other assignments.
DPD then alerted United States Capitol Police In
current location at the gate. DPD Agents informed LOLOS that he was being detained and was not
free to leave at that point. DPD took LOLOS to a holding room at the airport.

        Your affiant and Special Agent Kleitsch responded to the airport to make contact with
LOLOS and attempted an interview of LOLOS. Upon arrival, LOLOS was advised of his Miranda
rights; LOLOS did not wish to speak to your affiant or Special Agent Kleitsch without his attorney.
                                                    graph to DPD agents which was then given to
your affiant for review. Your affiant was also shown the Instagram video from the U.S. Capitol
depicting LOLOS, and confirmed the subject in the video was indeed the same person at the gate,
and that LOLOS was wearing the same shirt.

        Based off the aforementioned video,                                 , and the shirt he was
wearing, your affiant placed LOLOS under arrest. W                                          during
his arrest, your affiant discovered the same
             , still hooked together, which are the same flags that LOLOS can be seen holding on
video while exiting an East front door of the U.S. Capitol building, further corroborating his
involvement in the January 6, 2021 events.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
John LOLOS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
                                                                              posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
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building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that John LOLOS violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



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                                                       SPECIAL AGENT
                                                                 AGGENT ROBERT FLOCK
                                                                                  FLO
                                                                                   LO
                                                                                   LO
                                                       UNITED STATES CAPITOL POLICE

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of January 2021.


                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE
